           Case 3:08-cr-00128-LRH-CLB                 Document 85          Filed 02/19/10         Page 1 of 7
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AO 2458 (Rev.09/08)JudgmentinaCriminatCase                                                   t
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         Sheet1                                                                                        JV'..                    .
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                                           UNITED STATES DISTRICT COURT                                     -    -
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                                                        CTOFNEVADA                      I          1                                          t
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                                                                                        '          I                                           I
    UNITEDSTATESoFAMERICA                                   JUDGMENTINACRIMIN;ucAsd' FE8 l0 2010 !
           vs                                                                           ,         I                                           j
                                                            cAsENUMBER:o3:o&cR-128-EctrvPtt: - : :kr
VICTOR OROZCO-VARGAS,                                                            :                      T,.,: ,                .,        A
                                                                                                                                      . ,,
                                                            USM NUM BER:43162-048 ''
                                                                                   f                                                           q'7,qry
THE DEFENDANT:                                                                                                   ' ' ''' '-                  '' ''- '
                                                             Vito de la Cruz
                                                            DEFENDANT'S ATTORNEY

(X ) pled guiltytocountONE f1)ofSuDersedinnIndictmentfiled Februaw 4.2009
( ) pled nolocontenderetocountts)                                 whichwasaccepted bythecoud.
( ) wasfoundguilty oncountls)                                     afterapleaofnotguilty.
Thedefendantisadjudicatedguiltyoftheseofensels):
Title & Section                 Nature ofOffense                            Date Offense Ended                            Count

21:841(a)(1and (b)(1)(A)(viii), Conspiracy to Possess with Intent Nov,2008                                                  1
and 846                         to Distribute a Controlled Substance,
                                M etham phetam ine


        Thedefendantissentencedasprovi
                                     dedinpages2through **7 ofthisjudgment.Thesentenceisimposedpursuant
to the Sentencing Reform Actof1984.

        Thedefendanthas beenfound notguiltyoncountts)
        CountTwo (2)ofSupersedinq Indictment                is dismissed onthe motion ofthe United States.
        IT IS O RDERED thatthedefendantm ustnotifytheUni
                                                       ted StatesAttorneyforthisdistrictwi
                                                                                         thin30daysofanychange
ofname,residence,ormailingaddressuntilaIlfines,restitution,costs,and specialassessmentsimposedbythisjudgment
are fullypai
           d.Ifordered to payrestitution,the defendantmustnotifythe courtand United Statesattorneyofmaterialchanges
in economic circumstances.


                                                                     Februaw 16.2010
                                                                    Date ofIm position ofJ             nt

**Each separate page is signed and dated                                           U.                  ,
  by the presiding JudicialOfficer                                  Signature ofJudge

                  : FILEI)                   FFSEIVF!
                                                    )               EDW ARD C REED.JR ,SENIOR USDJ
                    E8TERED                  SERVEZ ()8             xameand'ri
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                                                                              eofJudge
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                                                                    Date
                          FEE 1S 2010

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             Case 3:08-cr-00128-LRH-CLB            Document 85         Filed 02/19/10        Page 2 of 7

AO 2458 (Rev.09/08)JudgmentinaCriminalCase
         Sheet2 -Imprisonment
DEFENDANT: OROZCO-VARGAS VICTOR                                                                       Judgment-Page 2
CASE NUM BER:O3:08-CR-128-ECR
                                                   IM PRISONMENT
        Thedefendanti
                    s herebycomm itted tothe custodyofthe Uni
                                                            ted States Bureau ofPrisons to be imprisoned foratotal
term of: EIGHTY-FIVE (85)MONTHS




(X ) TheCourlmakesthefollowingrecommendationstotheBureauofPri
                                                            sons:THATdefendantreceivecreditforalltime
sel-ved in federalcustody in connection with this offense;THAT defendantrecei  ve some sortofdrug training to enable him
to realize the affectQfdrugs,and the harm im posed onotherpeople bydealing wi   th drugs'
                                                                                        ,THAT defendantbe incarcerated
ata facility in the State ofColorado,
          In the eventthis recom mendation cannotbe compli  ed with the Coud requeststhatthe Bureau ofPri sonsprovi de a
w ritten explanation to the C ourt,




        The defendantis rem anded to the custody ofthe United States M arshal.

        The defendantshalisurrenderto the United States Marshalforthis district:
        ()       at                a.m ./p.m .on
        ()       asnotified bythe UnitedStatesMarshal.
        The defendantshallsurrenderforsel-vice ofsentence atthe insti
                                                                    tutiondesignated by the Bureau ofPrisons:
        ()       before2 p.m.on
        ()       asnotified bythe UnitedStates Marshal.
        ()       asnotified bythe ProbationofPretrialServicesOffice.


Datedthis lçdayofyebruary,zolo                                                  A. 1                  ..4.
                                                                        EDW ARD C.REED,JR.,SENIOR USDJ

                                                        RETURH

Ihaveexecuted thisjudgmentasfottows:




        Defendantdetîvered on                          to                                             at
                                            withacertifiedcopyofthisjudkment.

                                                                 UNI
                                                                   TED STATKSMARSHAL

                                                                        geputy tlnitedStatesMarshal
             Case 3:08-cr-00128-LRH-CLB                 Document 85          Filed 02/19/10        Page 3 of 7

A0 2458 (Rev09/08)JudgmentinaCriminatCase
           Sheet3 -Supervised Retease
DEC
  FYNEIAI
        NIT':     OROZCO-VARGM ,V'   ICTOR                                                                   Judgment-Pake 3
CASENUMBER: 03:08.CR'128-ECR
                                                      SUPERVISED RELEASE

        Upon retease from împrisonment the defendantshattbe on supervised retease fora term of FIVE (5)YEARS
        Thedefendantm ustreporttotheprobationofficeinthe districttowhichthedefendantisreteasedwithin72hoursofretease
from the custody ofthe Bureau of Prisons if not deported.

The defendantshattnot com mit anotherfederat,state ortocatcrim e.
The defendant shattnot untawfutty possess a controtted substances. Revocation ofsupervision is mandatory for possession of itteqat
controtledsubstances.Thedefendantshattrefrainfrom anyuntawfutuseofacontroltedsubstance. The defendantshattsubmitto0ne
drug testwithin 15 daysofcom mencementofsupervision and atteasttwo periodic drug teststhereafter,notto exceed 1O4 drug tests
annuaLty. Revocation is mandatory forrefusatto com pty.

         The above drug testingconditionissuspended basedonthecourt'sdeterminationthatthe defendantposesa tow risk offuture
         substance abuse.
(X )     The defendantshattnotpossessafirearm ammunition destructive device orany otherdangerousweapon.
(X )     The defendantshattcooperate inthecoLtectîon ofDHA asdirected bythe probationofficer.
()       The defendantshatLcomptywith the requirementsofthe SexOffenderRegistration and NotificationAct(42 U.S.C.16901,et
         seq.)asdirected bythe probationofficer the BureauofPrisons orany state sexoffenderregistrationagencyin whichheor
         she resîdes works isastudent orwasconvicted ofaquatifying offense.
         The defendantshattparticipate in an approved program fordom estic viotence.

       lfthisjudgmentimposesafineora restitution,itisacondition ofsupervised retease thatthe defendantpay in accordance
withthe Schedute ofPaymentssheetofthisjudgment.
         The defendant mustcompty with the standard conditionsthathave been adopted by thiscourt aswettaswith any additionat
conditionson the attached page.
                              SEE ADDITIONAL CONDITIONS OF SUPERVISED RELEASE ON PAGE 4
                                          STANDARD COHDI    T IONS OF SUPERVISIOH

         the defendantshattnotteave the judiciatdistrictwithoutthe permission ofthe courtorprobation officer'
         the defendantshattreportto the probation officerand shatLsubmita truthfutand com ptete written reportwithin the firstf've
         daysofeach month;
3)       thedefendantshattanswertruthfuttyattinquiriesbytbe probationofficerandfottow the instructionsoftheprobationofficer;
4)       thedefendantshattsupporthisorherdependantsand meetotherfamityresponsibitities;
5)       the defendantshattworkregutarly ata (awfutoccupation untessexcused bythe probationofficerforschooting,training,or
         otheracceptabte reasons;
6)       the defendantshattnotifythe probationofficeratteasttendayspriortoanychange in residence oremptoyment;
7)       the defendantshattrefrain from excessive use ofatcohotand shattnotpurchase,possess,use,distribute oradministerany
         controtted substance orany paraphernatîa retated to any controtted substances,except as prescribed by a physician'
8)       the defendantshattnotfrequentptaceswhere controtted substancesare ltlegatty sotd,used,distributed,oradministered',
9)       the defendant shattnot associate with any personsengaged in criminatactîvity,and shattnot associate with any person
         convicted ofa fetony,untessgranted perm ission to do so by the probation officer;
10)      thedefendantshalLpermitaprobationofficertovisithim orheratanytimeathomeoretsewhereandshattpermitconfiscation
         ofany contraband observed in ptain view ofthe probation officer'
         the defendant shattnotify the probation offjcerwithin seventy-two hours ofbeing arrested orquestioned by a taw
         enforcementofficer.
         the defendantshattnotenterinto anyagreementto actasan inform erora specialagentofa Law enforcementagency without
         the permission ofthe coul't'and
         asdirected bythe probation officer,the defendantshattnotifythird partiesofrisksthatm ay be occasioned bythe defendant's
         criminatrecord orpersonathistory orcharacteristics and shattpermitthe probation officerto m ake such notifications and to
         confirm the defendant'scomptiance with such notification requirement.



Dated this   l@ dayofFebruary,2010                                                  C, w ,
                                                                     EDW ARD C.REED,JR.,SENICR USDJ
          Case 3:08-cr-00128-LRH-CLB            Document 85       Filed 02/19/10     Page 4 of 7


AO 2458 (Rev.09/08)Judgmentina CriminaLCase
        Sheet3 -Supervised Retease
DEFENDANT:    OROZCO-VARGAS,VICTOR                                                          Judgment -Page 4
CASE NUMBER: 03:08-CR-128-ECR

                                     SPECIAL CONDITIONS OF SUPERVISION

       Possession ofItteqatControtted Substance -DefendantshaLLnot possessîLLegatcontrotted substances.

2.     Possession ofW eanon -DefendantshaLLnotpossess,have underhiscontrot,orhaveaccesstoany firearm,exptosive
       device,orotherdangerousweapons,asdefined by federat,state ortocattaw.

       W arranttessSearch -To ensure com ptiance withattconditionsofretease,the defendantshattsubm itto thesearch
       ofhisperson,and any property,residence,orautomobiLe underhiscontrolby the probation officer,orany other
       authorized personundertheimm ediateand personatsupewisionofthe probationofficer withoutasearchwarrant,
       ata reasonabte time,and in a reasonabte manner. Provided,however,defendantshaLLbe required to submitto
       anysuchsearch only iftheprobationofficerhasreasonablesuspicionto betievedefendanthasvioLated acondition
       orconditions ofretease.
4.     Reportto Probation OfficerAfterRetease from Custodv -Ifnotdeported,defendantshattreport,in person,to the
       probation office in the Districtto which he is reteased within 72 hoursofdischarge from custody.

       Im miqration CompLiance - If defendant is deported, he shatt not reenter the United States without legak
       authorization. Ifdefendantdoesreenterthe United States,with orwithout tegatauthorization,he shattreportin
       person to the probation office in the districtofreentry within 72 hours.

6.     DeniaLofFederatBenefitsforDru:Possessors-21U.S.C.862(b),
              thedefendantshaltbe inetigibte forallfederatbenefitsfora periodofTEN (10)YEARS;




Datedthis lQ dayofFebruary,2010                                    C.       w .
                                                    EDW ARD C.REED,JR.,SENIOR USDJ
            Case 3:08-cr-00128-LRH-CLB                Document 85       Filed 02/19/10       Page 5 of 7

AO 2458 (Rev09/08)JudgmentinaCriminatCase
         Sheet5 .CriminatMonetal
                               'y Penatties
DEFENDANT: OROZCO-VARGAS,VICTOR                                                                      Judgment-Paye 5
CASE NUMBER: 03:08-CR-128-ECR

                                              CRIMINAL MONETARY PENALTIES

        The defendantmust pay the totatcriminalmonetar'
                                                      y penattiesunderthe schedute ofpaym ents on Sheet6.

                                  Assessm ent                    Fine                           Restitution

        Totats:                   $100.00
                                  Due and payabte immediatety.

        On motion by the Government,IT 15 ORDERED thatthe specialassessm entim posed by the Courtisrem itted.

        The determinationofrestitution isdeferred untit                      . AnAmended Judgmentin a CriminatCase
        (AO 245C)wiLLbe enteredaftersuchdeterminatîon,
        Thedefendantshattmakerestitution(inctudingcommunityrestitution)tothefoltowingpayeesintheamounttisted
        betow .

        Ifthedefendantmakesapartiatpayment,eachpayeeshaLLreceive anapproximatetyproportioned payment,untess
        specified otherwise in the priority orderorpercentage paymentcotumn below. However,pursuantto 18 U.S.C.
        j3664(1),attnonfederatvictimsmustbe paid beforetheUnitedStatesispaîd.
Nam e ofPavee                             TotatLoss              Restitution Ordered            Prioritv ofPercentaqe

Cterk,U.S.DistrictCourt
Attn:FinanciatOfficer
Case No.
333 LasVegas Boulevard,South
LasVegas,NV 89101

TOTALS                                    $                      $

Restitutionamountordered pursuantto pteaagreement: $
Thedefendantmustpayinterestonrestitutionandafineofmorethan$2,500,untesstherestitutionorfineispaidinfutt
beforethefifteenthdayafterthedateofjudgment,pursuantto18 U.S.C.53612(f).Attofthe paymentoptîonsonSheet
6may besubjectto penattfesfordetinquency and defautt,pursuantto 18 U.S.C.b3612(g),
The courtdetermined thatthe defendantdoesnothave the ability to pay interestand itis ordered that:

        the interestrequirementiswaived forthe: ( )fine ( )restitution.
        theinterestrequirementforthe: ( )fine ( )restitutionismodîfiedasfoLLows:

*Findîngsforthe totatam ount ofLossesare required underChapters 109A,110,1IOA,and 113A ofTitte 18 foroffenses
comm itted on orafterSeptem ber13,1994 but before Aprit23,1996.



Dated thfs l      dayofrebruary zolo
                                   ,                                     C               .
                                                         EDWARD C,REED,JR.,SEHIOR USDJ
             Case 3:08-cr-00128-LRH-CLB           Document 85        Filed 02/19/10       Page 6 of 7


AO 2458 (Rev09/08)JudgmentinaCriminatCase
         Sheet6-ScheduleofPayments
DEFENDANT: OROZCO-VARGAS,VICTOR                                                                   Judgment-Page 6
CASENUMBER:03:08-CR.128-ECR

                                              SCHEDULE OF PAYMENTS

Havingassessed the defendant'sabitity to pay,paymentofthe totaLcriminatmonetary penatties are due asfottows:

A               Lump sum paymentof$ 100.00             dueimmediateLy,batancedue
                ( ) nottaterthan                  'or
                ( ) in accordancewith ( )C,( )D,or( )Ebetow;or
B               Paymentto begin immediately (may be combined with ( )C,( )D,or( )E betow;or
C        (      Paymentin                                      (e.g.,weekly,monthty,quarterty)instattmentsof$
                           overa period of           (e.g.m onthsoryears),to                               (e.g.,30 or
                60days)afterthedateofthisjudgment;or
D               Paymentin           (e.g.,weekty,monthly,quarterty)installmentsof$           overa periodof
                         (e.g.,monthsoryears),to            (e.g.,30 or60 days)afterretease from imprisonment
                to a term fssupervision;or

E        Paymentduringthe term ofsupervised reteasewittcommence within                      (e.g.,30or60 days)after
         reteasefrom imprisonment.Thecourtwittsetthe paymentpLan based on an assessm entofthedefendant'sabitity
         to pay atthattim e;or

F        (      Speciatïnstructions regarding the paym entofcriminatmonetary penatties:


Untessthe courthasexpresstyorderedotherwise ifthisjudgmentimposesimprisonment,paymentofcriminatmonetary
penattiesisdue during imprisonment. ALLcriminatmonetary penatties,exceptthose paymentsm ade through the Federat
Bureau ofPrisons'Inmate FinanciatResponsibitity Program ,are made to the cterkofthe court.

The defendantwittreceive creditforattpaymentspreviousty made toward any criminatmonetar'y penaltiesfmposed,


         Jointand Severat

         Defendantand Co-DefendantHamesand Case Numbers(inctuding defendantnumber),TotatAmount,Jointand
         SeveratAmount,and corresponding payee,ifappropriate.


         The defendantshattpay the costofprosecution,

         Thedefendantshattpaythefottowing courtcostts):
         The defendantshallforfeitthe defendant'sinterestfn the foll/wing preperty to the United states:


Paymentsshattbeapptiedinthe fottowingorder:(1)assessment,(2)restitutfonprincipat,(3)restitutioninterest,(4)fine
principal,(5)fineinterest,(6)communityrestitution,(7)penatties,and (8)costs,includîngcostofprosecutionandcourt
costs.


natedtl
      ais (9 dayofyebruary,zolo                             u..-,)C-                  .
                                                       EDW ARD C.REED,JR.,SENIOR USDJ
            Case 3:08-cr-00128-LRH-CLB             Document 85          Filed 02/19/10   Page 7 of 7


A0 2458 (Rev9/08)-JudgmentinaCrimfnatCase
Sheet7 .DeniatofFederatBenefits
DEFENDANT:                                                                                       Judgment-Page 7
CASE NO.:

                                            DENIAL OF FEDERAL BENEFITS
                                  (ForOffensesCommitted OnorAfterNovember18,1988)
FOR DRUG TM FFICKER PURSUANT TO 21 U.S.C.b 862

        IT IS ORDERED thatthe defendantshattbe:

(X ) inetigibte forattfederatbenefitsfora period of TEN (10)YEARS
( ) inetigibLeforthe fottowingfederatbenefîtsfora period of                                                (Specify
     benefittsl)

                                                        OR
        Having determ ined that this is the defendant's third or subsequent conviction fordistribution ofcontrotted
        substances,IT IS ORDERED thatthe defendantshatlbe permanentty ineligible foratLfederatbenefits.

FOR DRUG POSSESSORS PURSUAHT TO 21U.S.C.b862(b)
        IT IS ORDERED thatthe defendantshatt:

        be inetigibte forattfederatbenefitsfora period of
        be inetigibte forthe fottowing federatbenefits fora period of
        (specifybenefitlsl)

        successfuttycom ptete a drug testing and treatm ent program .

        perform communitysewice,asspecifîedin the probationand supervïsed retease portionofthisjudgment.
        Having determined thatthisis the defendant's second orsubsequent conviction for possession ofa controtted
        substance,IT ISFURTHER ORDERED thatthedefendantshaLLcompLete any drug treatmentprogram and community
        seaice specified inthisjudgmentasarequirementforthe reinstatementofeLigibitityforfederatbenefits.
        Pursuantto21U.S.C.5862(d),thisdenialoffederalbenefitsdoesnotincludeanyretirement,welfare,Sociat
Security,health,disability,veteransbenefit,public housing,orothersimilarbenefit,orany otherbenefitforwhich
paym entsorservicesare required foreligibility. The clerk ofcourtisresponsible forsending a copy ofthispage and
the firstpage ofthisjudgmentto:
        U.S.Department ofJustice,Office ofJustice Program s,W ashington,DC 20531.




nated tlais lQ dayofF'
                     ebruaw,zolo                                        C         ,-.
                                                                                    ?,
                                                       EDW ARD C.REED,JR.,SEHIOR USDJ
